934 F.2d 1414
    56 Empl. Prac. Dec. P 40,656
    Doris TAGGART, Appellant,v.JEFFERSON COUNTY CHILD SUPPORT ENFORCEMENT UNIT, Appellee.
    No. 89-2429.
    United States Court of Appeals,Eighth Circuit.
    Dec. 11, 1990.
    
      1
      Appeal from the United States District Court for the Eastern District of Arkansas.
    
    
      2
      Appellee's petition for rehearing with suggestion for rehearing en banc has been considered by the court and is granted.  The opinion and judgment of this court filed on October 3, 1990, 915 F.2d 396, are vacated.  The clerk will notify the parties of the time and place of oral argument at a later date.
    
    
      3
      The parties are directed to file supplemental briefs not exceeding 15 pages in length.  The supplemental briefs should not duplicate prior briefs and only new cases should be argued.  All briefs should be limited to the points raised in the petition for rehearing en banc.  Eighteen copies of the supplemental briefs should be filed, simultaneously on or before December 26, 1990.
    
    